     Manuel Corrales, Jr. SBN 117647
1
     ATTORNEY AT LAW
2    17140 Bernardo Center Drive, Suite 358
     San Diego, CA 92128
3    Tel: (858) 521-0634/Fax: (858) 521-0633
     Email: mannycorrales@yahoo.com
4
     Attorney for Creditors BARBARA JEAN ZELMER
5
     and ROBERT THOMAS ZELMER
6
                            UNITED STATES DISTRICT COURT
7                         NORTHERN DISTRICT OF CALIFORNIA
8
                               SAN FRANCISCO DIVISION

9
     In Re                                     Bankruptcy Cases
10                                             19-30088-DM (Lead Case)
     PG&E CORPORATION                          19-30089-DM
11
                                               (Jointly Administered)
12   and
                                               CREDITORS BARBARA ZELMER AND
13   PACIFIC GAS AND ELECTRIC                  ROBERT ZELMER’S NOTICE OF
     COMPANY,                                  WITHDRAWAL OF MOTION FOR RELIEF
14                                             FROM STAY, WITHOUT PREJUDICE
               Debtors.
15                                             Date: N/A
     o Affects PG&E Corporation                Time: N/A
16   o Affects Pacific Gas and                 Ctrm: Hon. Dennis Montali
17
       Electric Corporation                         450 Golden Gate Avenue
     Ä Affects both Debtors                         16th Floor, Courtroom 17
18                                                  San Francisco, CA 94102
     **All papers shall be filed in
19
     the Lead Case No. 19-30088 DM
20

21
           TO: CLERK OF THE BANKRUPTCY COURT, AND TO ALL INTERESTED

22
     PARTIES AND THEIR ATTORNEYS OF RECORD.

23
           PLEASE TAKE NOTICE that creditors BARBARA ZELMER and ROBERT

24
     ZELMER. Hereby withdraw their Motion for Relief from Stay and

25
     Abstention pursuant to 28 U.S.C. § 1134(c)(1), without

26
     prejudice, which was set to be heard on June 25, 2019, at 9:30

27
     a.m., before Judge Dennis Montali in Courtroom 17, at 450 Golden

28



     CREDITORS BARBARA ZELMER AND ROBERT ZELMER’S NOTICE OF WITHDRAWAL OF               1
     MOTION FOR RELIEF FROM STAY, WITHOUT PREJUDICE
     Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 1 of
                                              20
1    Gate Avenue, San Francisco, CA.           The motion should be taken off
2    calendar.
3
     DATED: June 6, 2019
4
                                                     s/ Manuel Corrales, Jr.
5                                                    Manuel Corrales, Jr., Esq.
                                                     Attorney for Creditors
6                                                    BARBARA ZELMER and ROBERT
                                                     ZELMER
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



     CREDITORS BARBARA ZELMER AND ROBERT ZELMER’S NOTICE OF WITHDRAWAL OF               2
     MOTION FOR RELIEF FROM STAY, WITHOUT PREJUDICE
     Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 2 of
                                              20
     Manuel Corrales, Jr. SBN 117647
1
     ATTORNEY AT LAW
2    17140 Bernardo Center Drive, Suite 358
     San Diego, CA 92128
3    Tel: (858) 521-0634/Fax: (858) 521-0633
     Email: mannycorrales@yahoo.com
4
     Attorney for Creditors BARBARA JEAN ZELMER
5
     and ROBERT THOMAS ZELMER
6
                            UNITED STATES DISTRICT COURT
7                         NORTHERN DISTRICT OF CALIFORNIA
8
                               SAN FRANCISCO DIVISION

9
     In Re                                     Bankruptcy Cases
10                                             19-30088-DM (Lead Case)
     PG&E CORPORATION                          19-30089-DM
11
                                               (Jointly Administered)
12   and
                                               CERTIFICATE OF SERVICE
13   PACIFIC GAS AND ELECTRIC
     COMPANY,                                  Date: June 25, 2019
14                                             Time: 9:30 a.m. (PT)
               Debtors.
                                               Ctrm: Hon. Dennis Montali
15
     o Affects PG&E Corporation                     450 Golden Gate Avenue
                                                    16th Floor, Courtroom 17
16   o Affects Pacific Gas and                      San Francisco, CA 94102
17
       Electric Corporation
     Ä Affects both Debtors
18
     **All papers shall be filed in
19
     the Lead Case No. 19-30088 DM
20
           I declare under penalty of perjury under the laws of the
21
     United States of America that the following is true ad correct:
22
           I am employed in the City of San Diego, County of San
23   Diego, State of California, in the office of a member of the bar
24   of this court, at whose direction the service was made.                     I am a
25   citizen of the United States, over the age of eighteen (18)

26   years, and not a party to this action.             I am an employee of
     Manuel Corrales, Jr., and my business address is 17140 Bernardo
27
     Center Drive, Suite 358, San Diego, California 92128.
28




     CERTIFICATE OF SERVICE                                                               1
     Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17    Page 3 of
                                              20
           I served the attached documents:
1
        Ø CREDITORS BARBARA ZELMER AND ROBERT ZELMER’S NOTICE OF
2         WITHDRAWAL OF MOTION FOR RELIEF FROM STAY, WITHOUT
          PREJUDICE
3
     by the following means:
4

5      þ BY ECF. Based on court rules or an agreement of the parties
         to accept service by electronic transmission, on June 6,
6        2019 I caused the document(s) to be filed via the Court’s
         Electronic Case Filing (ECF) which to the best of my
7
         knowledge will cause links to such document(s) to be
8        transmitted electronically to the persons at their
         respective notification who are registered ECF participants.
9
          See Attachment A for list of ECF participants.
10

11     þ BY ELECTRONIC SERVICE. Based on a court order or an
         agreement of the parties to accept service by electronic
12       transmission, I caused the documents to be sent on June 6,
         2019 to the persons at the electronic notification addresses
13
         listed below. I did not receive, within a reasonable time
14       after the transmission, any electronic message or other
         indication that the transmission was unsuccessful.
15
      Stephen Karotkin                              Proposed Counsel for
16
      stephen.karotkin@weil.com                     Debtor, PG&E Corporation
17    Jessica Liou
      jessica.liou@weil.com
18    Matthew Goren
      matthew.goren@weil.com
19
      WEIL GOTSHAL & MANGES LLP
20    767 Fifth Avenue
      New York, NY 10153-0119
21
      Timothy S. Lafferdi                           Counsel for Acting U.S.
22    Office of the U.S. Trustee                    Trustee, Andrew R. Vara
      450 Golden Gate Avenue, Suite
23    05-0153
24
      San Francisco, CA 94102
      timothy.s.laffredi@usdoj.gov
25
      Paul S. Aronzon                               Proposed Counsel for
26    paronzon@milbank.com                          Official Committee of
      Gregory A. Bray                               Unsecured Creditors
27    gbray@milbank.com
      Thomas R. Kreller
28
      tkreller@milbank.com


     CERTIFICATE OF SERVICE                                                              2
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 4 of
                                              20
      MILBANK LLP
1
      2029 Century Park East, 33rd
2     Flr.
      Los Angeles, CA 90067
3
      Dennis F. Dunne                               Proposed Counsel for
4     ddunne@milbank.com                            Official Committee of
      Samuel A. Khalil                              Unsecured Creditors
5     skhalil@milbank.com
6
      MILBANK LLP
      55 Hudson Yards
7     New York, NY 10001-2163
8     Maura Walsh Ochoa                             Attorneys for Subrogation
      Waylon J. Pickett                             Plaintiffs
9     Todd C. Harshman                              State Farm General
      GROTEFELD HOFFMANN                            Insurance Company, et al.
10
      700 Larkspur Landing Circle,
11    Suite 280                                     Case No. 15CV41266
      Larkspur, CA 94939
12    P: (415) 344-9670
      F: (415) 989-2802
13
      mochoa@ghlaw-llp.com
14    wpickett@ghlaw-llp.com
      tharshman@ghlaw-llp.com
15    lcortez@ghlaw-llp.com
      (Paralegal)
16
      lheath@ghlaw-llp.com (Paralegal)
17    Shawn E. Caine                                Attorneys for Subrogation
18
      LAW OFFICES OF SHAWN E. CAINE                 Plaintiffs
      1221 Camino Del Mar                           United Services Automobile
19    Del Mar, CA 92014                             Association, et al.
      P: (858) 350-1660
20    F: (866) 754-1398
21
      scaine@cainelaw.com
      Craig S. Simon                                Attorneys for Subrogation
22
      BERGER KAHN, A LAW CORPORATION                Plaintiffs
23    1 Park Plaza, Suite 340                       Fire Insurance Exchange, et
      Irvine, CA 92614                              al.
24    P: (949) 474-1880                             Case No. 15CV41276
      F: (949) 313-5029
25
      csimon@bergerkahn.com
26    smuncey@bergerkahn.com

27
      (Paralegal)
      Evan S. Nadel                                 Attorneys for Liberty
28
      MINTZ LEVIN COHN FERRIS GLOVSKY               Mutual Fire Insurance


     CERTIFICATE OF SERVICE                                                              3
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 5 of
                                              20
      AND POPEO, P.C.                               Company and Liberty
1
      44 Montgomery Street, 36th Floor              Insurance Corporation
2     San Francisco, CA 94104
      P: (415) 326-6000
3     F: (415) 326-6001
      enadel@mintz.com
4
      Dario de Ghetaldi                             Attorneys for Individual
5     Amanda Riddle                                 Plaintiffs
6
      Clare Capaccioli Velasquez
      COREY, LUZAICH, DE GHETALDI, &
7     RIDDLE LLP
      700 El Camino Real
8     Millbrae, CA 94030
9
      P: (650) 871-5666
      F: (650) 871-4144
10    deg@coreylaw.com
      alr@coreylaw.com
11    ccv@coreylaw.com
12
      dlp@coreylaw.com
      Mike Danko                                    Attorneys for Individual
13
      Kristine Meredith                             Plaintiffs
14    Shawn Miller
      Brad Bowen
15    DANKO MEREDITH
      333 Twin Dolphin Drive, Suite
16
      145
17    Redwood Shores, CA 94065
      P: (650) 453-3600
18    F: (650) 394-8672
      mdanko@dankolaw.com
19
      kmeredith@dankolaw.com
20    smiller@dankolaw.com
      bbowen@dankolaw.com
21
      Daniel G. Whalen                              Attorneys for Individual
22    ENGSTROM LIPSCOMB & LACK                      Plaintiffs
      10100 Santa Monica Blvd., 12th
23    Floor
24
      Los Angeles, CA 90067
      P: (310) 552-3800
25    F: (310) 552-9434
      dwhalen@elllaw.com
26    gwaters@elllaw.com
      ajacobson@elllaw.com
27
      ebell@elllaw.com
28    tgunther@elllaw.com



     CERTIFICATE OF SERVICE                                                              4
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 6 of
                                              20
      John Gomez                                    Co-Counsel for Individual
1
      Ahmed Diab                                    Plaintiffs
2     GOMEZ TRIAL ATTORNEYS                         Richard Tyler, et al.
      655 W. Broadway, Suite 1700                   Case No. CGC-15-548319
3     San Diego, CA 92101
      P: (619) 237-3490
4
      F: (619) 237-3496
5     john@gomeztrialattorneys.com
      adiab@gomeztrialattorneys.com
6     michelle@gomeztrialattorneys.com
      (Paralegal)
7

8     Scott Summy, Esq.                             Attorneys for Plaintiff
      Britt K. Strottman, Esq.                      County of Calaveras
9     John Fiske, Esq.                              Case No. CGC-18-564465
      BARON & BUDD
10
      603 N. Coast Highway, Suite G
11    Solana Beach, CA 92075
      P: (858) 225-7200
12    ssummy@baronbudd.com
      bstrottman@baronbudd.com
13
      jfiske@baronbudd.com
14    jnard@baronbudd.com
      lphilpott@baronbudd.com
15    mgantos@baronbudd.com
      emcintosh@baronbudd.com
16
      Robert W. Jackson                             Attorneys for Individual
17    Brett R. Parkinson                            Plaintiffs
      JACKSON & PARKINSON, TRIAL
18
      LAWYERS
19    205 W. Alvarado Street
      Fallbrook, CA 92028
20    P: (760) 723-1295
      F: (760) 723-9561
21
      robert@jacksontriallawyers.com
22    brett@jacksontriallawyers.com

23
      Eric Ratinoff                                 Attorneys for Individual
      Coell M. Simmons                              Plaintiffs
24    ERIC RATINOFF LAW CORP.
      401 Watt Avenue, Suite 1
25    Sacramento, CA 95864
26
      P: (916) 970-9100
      F: (916) 246-1696
27    eric@ericratinoff.com
      csimmons@ericratinoff.com
28    kbenzler@ericratinoff.com



     CERTIFICATE OF SERVICE                                                              5
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 7 of
                                              20
      scleckler@ericratinoff.com
1
      lconley@ericratinoff.com
2     Steven M. Campora                             Attorneys for Individual
3
      Catia G. Saraiva                              Plaintiffs
      DREYER BABICH BUCCOLA WOOD, et                Fred Slifkoff, et al
4     al.                                           Case No. 15CV41194
      20 Bicentennial Circle
5     Sacramento, CA 95826                          Richard C. Bush, et al.
6
      P: (916) 379-3500                             Case No. 15CV41261
      F: (916) 379-3599
7     scampora@dbbwc.com
      csaraiva@dbbwc.com
8     nwong@dbbwc.com
9
      acrowl@dbbwc.com
      John V. Airola                                Attorneys for Individual
10
      AIROLA LAW OFFICES                            Plaintiffs
11    333 University Avenue, #200
      Sacramento, CA 95825
12    P: (916) 971-3314
      F: (916) 971-3402
13
      john@law4injury.com
14    Frank M. Pitre                                Attorneys for Individual
15
      Alison E. Cordova                             Plaintiffs
      COTCHETT PITRE & McCARTHY LLP                 Teresa L. Rush
16    840 Malcolm Road, Suite 200                   Case No. 15CV41261
      Burlingame, CA 94010
17    P: (650) 697-6000                             Fred Slifkoff
18
      F: (650) 697-0577                             Case No. 15CV41194
      fpitre@cpmlegal.com
19    acordova@cpmlegal.com
      tstevens@cpmlegal.com
20    (Assistant)
21
      mdominguez@cpmlegal.com
      (Paralegal)
22
      Ken Roye                                      Attorneys for Individual
23    Joseph Astleford                              Plaintiffs
24
      LAW OFFICE OF KENNETH P. ROYE                 James and Cathy Boyle, et
      142 West 2nd Street, Suite B                  al.
25    Chico, CA 95928
      P: (530) 893-2398                             Case No. CGC-17-561200
26    F: (530) 893-2396
27
      ken@kenroyelaw.com
      joseph@kenroyelaw.com
28    deann@kenroyelaw.com (Assistant)



     CERTIFICATE OF SERVICE                                                              6
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 8 of
                                              20
      brittany@kenroyelaw.com
1
      (Assistant)
2
      Jeffery L. Caufield
3     CAUFIELD & JAMES LLP
      2851 Camino Del Rios S #410
4
      San Diego, CA 92108
5     P: (619) 325-0441
      F: (619) 325-0231
6     jeff@caufieldjames.com
7     Christopher C. Sieglock                       Attorneys for Individual
      LAW OFFICES OF CHRISTOPHER C.                 Plaintiffs
8     SIEGLOCK, A Professional
9
      Corporation
      1221 Camino Del Mar
10    Del Mar, CA 92014
      P: (209) 712-8814
11    F: (866) 664-0577
12
      chris@sieglocklaw.com
      Dave Fox                                      Attorneys for Individual
13
      FOX LAW APC                                   Plaintiffs
14    The Plaza Building
      225 West Plaza Street, Suite 102
15    Solana Beach, CA 92075
      P: (858) 256-7616
16
      F: (858) 256-7618
17    dave@foxlawapc.com

18
      Gerald Singleton                              Attorneys for Individual
      Erika L. Vasquez                              Plaintiffs
19    Amanda LoCurto                                Moeller and Stewart
      SINGLETON LAW FIRM, APC
20    115 West Plaza Street
21
      Solana Beach, CA 92075
      P: (760) 697-1330
22    F: (760) 697-1329
      gerald@geraldsingleton.com
23    erika@geraldsingleton.com
24
      amanda@geraldsingleton.com
      tyler@geraldsingleton.com
25    (Paralegal)

26    Co-Counsel
      Demetrios A. Sparacino
27
      SPARACINO LAW CORPORATION
28    525 B Street, Suite 1500



     CERTIFICATE OF SERVICE                                                              7
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 9 of
                                              20
      San Diego, CA 92101
1
      P: (619) 955-5254
2     F: (619) 374-1313
      dsparacino@sparacinolaw.com
3
      Elliot Adler                                  Attorneys for Individual
4     Brittany Zummer                               Plaintiffs
      ADLER LAW GROUP, APLC
5     402 W. Broadway, Suite 860
6
      San Diego, CA 92101
      P: (619) 531-8700
7     F: (619) 342-9600
      eadler@theadlerfirm.com
8     bzummer@theadlerfirm.com
9
      chunter@theadlerfirm.com
      (Paralegal)
10
      Manuel Corrales, Jr.                          Attorneys for Individual
11    MANUEL CORRALES, JR. ATTORNEY AT              Plaintiffs Barbara
12
      LAW                                           Jean Zelmer and Robert
      17140 Bernardo Center Drive,                  Thomas Zelmer
13    Suite 358
      San Diego, CA 92128
14    P: (858) 521-0634
15
      F: (858) 521-0633
      mannycorrales@yahoo.com
16    hcskanchy@hotmail.com
      (Paralegal)
17    cariannesteinman@outlook.com
18    (Assistant)
19    R. Wesley Beavers                             Attorneys for Nationwide
      Jeffery A. Korinko                            Mutual Insurance Company,
20    John F. Rutan, Jr.                            et al.
21
      Michael Deal
      LAW OFFICES ANTHONY T. SCHNEDIER              Case No. 15CV41277
22    4685 MacArthur Court, Suite 200
      Newport Beach, CA 92660
23    P: (949) 250-5549
24
      F: (855) 880-5646
      beaverr@nationwide.com
25    korinkj@nationwide.com
      rutanj@nationwide.com
26    dealm2@nationwide.com
      jerryj1@nationwide.com
27
      (Paralegal)
28




     CERTIFICATE OF SERVICE                                                             8
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 10
                                            of 20
      Don Dowling                                   Attorneys for Individual
1
      Jessica Rowen                                 Plaintiffs Sachs, Thompson
2     ROSS, HACKETT, DOWLING, VALENCIA
      & WALTI                                       Case No. 15CV41326
3     600 El Camino Real
      San Bruno, CA 94066
4
      P: (650) 588-0367
5     F: (650) 588-3413
      ddowling@rosshackett.com
6     jrowen@rosshackett.com
7     Gregory M. Finch                              Attorneys for Individual
      SIGNATURE LAW GROUP, LLP                      Plaintiffs Gregory M. Finch
8     3400 Bradshaw Rd.                             and Shirley Thomas
9
      Sacramento, CA 95827
      P: (916) 857-1100
10    F: (916) 880-5255
      gfinch@signaturelawgroup.com
11
      Tasha Bollinger                               Attorney for Individual
12    LAW OFFICE OF TASHA M. BOLLINGER              Plaintiff Steve
      829 Sonoma Avenue                             Christopher
13
      Santa Rosa, CA 95404
14    P: (707) 292-5377
      Tashabollinger3@yahoo.com
15
      C. Jason Smith                                Attorneys for Individual
16    Matthew M. Breining                           Plaintiffs Ann Dillon;
      SMITH, MCDOWELL & POWELL, A.L.C.              Southern Exposure Wellness
17    100 Howe Avenue, Suite 208 South
18
      Sacramento, CA 95825                          Case No. 17CV42087
      P: (916) 569-8100
19    F: (916) 848-3777
      cjsmith@smplawcorp.com
20    mbreining@smplawcorp.com
21    Kenneth R. Chiate                             Attorneys for Defendant
      Jeffrey N. Boozell                            Pacific Gas & Electric
22
      Sean Taheri                                   Company
23    QUINN EMANUEL URQUHART &
      SULLIVAN, LLP
24    865 S. Figueroa Street, 10th
      Floor
25
      Los Angeles, CA 90017
26    P: (213) 443-3000
      F: (213) 443-3100
27    kenchiate@quinnemanuel.com
      jeffboozell@quinnemanuel.com
28




     CERTIFICATE OF SERVICE                                                             9
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 11
                                            of 20
      seantaheri@quinnemanuel.com
1
      Gayle L. Gough                                Attorneys for Defendant
2     Mark J. Hancock                               Pacific Gas & Electric
3
      Sara Duncan                                   Company
      Andrew Briggs
4     Kristie Tappan
      GOUGH & HANCOCK LLP
5     Two Embarcadero Center, Suite
6
      640
      San Francisco, CA 94111
7     P: (415) 848-8900
      F: (415) 974-6745
8     gayle.gough@ghcounsel.com
9
      mark.hancock@ghcounsel.com
      sara.duncan@ghcounsel.com
10    andrew.briggs@ghcounsel.com
      kristie.tappan@ghcounsel.com
11    jennifer.mcneil@ghcounsel.com
12    Randy W. Gimple                               Attorneys for Defendant
      David Bona                                    Trees, Inc.
13
      Aaron Shapiro
14    Alex Cheng
      Sunny Shapiro
15    CARLSON, CALLADINE & PETERSON
      353 Sacramento Street, 16th
16
      Floor
17    San Francisco, CA 94111
      P: (415) 391-3911
18    F: (415) 391-3898
      rgimple@ccplaw.com
19
      dbona@ccplaw.com
20    shahn@ccplaw.com
      ashapiro@ccplaw.com
21    acheng@ccplaw.com
      sshapiro@ccplaw.com
22
                                                    Monitoring Counsel
23    Dale Miller                                   Canopius Underwriting
      LINDEMANN MILLER LLP                          Bermuda Limited
24    233 S Wacker Drive, Suite 8400
      Chicago, IL 60606
25
      P: (312) 300-4505
26
      F: (312) 300-4525
      dale@lm-law.com
27
      Matthew T. Hawk                               Attorneys for Defendant
28    GORDON & REES LLP                             ACRT



     CERTIFICATE OF SERVICE                                                            10
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 12
                                            of 20
      275 Battery Street, 20th Floor
1
      San Francisco, CA 94111
2     P: (415) 986-5900
      F: (415) 986-8054
3     mhawk@gordonrees.com
      lvaughn@gordonrees.com
4
      jvandecarr@gordonrees.com
5     ecordero@grsm.com
      eruiz@grsm.com
6
      I. Hooshie Broomand, Esq.
7
      NEWMAN & BROOMAND, LLP
8     2360 East Bidwell Street, Suite
      100
9     Folsom, CA 95630
      P: (916) 932-0397
10
      F: (916) 932-0398
11    ihb@nbllplaw.com

12    Rick S. Linkert
      Jack A. Klauschie
13
      MATHENY SEARS LINKERT JAIME
14    3638 American River Drive
      Sacramento, CA 95864
15    P: (916) 978-3434
      F: (916) 978-3430
16    rlinkert@mathenysears.com
17
      jklauschie@mathenysears.com
      Jeffrey P. Reusch, Esq.                       CAL FIRE
18
      Kelly Welchans, Esq.
19    Deputy Attorney General
      CALIFORNIA DEPARTMENT OF JUSTICE
20    OFFICE OF THE ATTORNEY GENERAL
      1300 I Street
21
      P.O. Box 944255
22    Sacramento, CA 94244-2550
      P: (916) 210-7804
23    jeffrey.reusch@doj.ca.gov
      kelly.welchans@doj.ca.gov
24
      Christopher Tayback
25
      christayback@quinnemanuel.com
26    Martin N. Buchanan (SBN 124193)               Attorney for Plaintiffs
      Law Office of Martin N.                       Barbara Jean Zelmer and
27
      Buchanan, APC                                 Robert Thomas Zelmer
28    655 West Broadway, Suite 1700



     CERTIFICATE OF SERVICE                                                            11
     Case: 19-30088   Doc# 2425   Filed: 06/06/19    Entered: 06/06/19 10:06:17   Page 13
                                            of 20
      San Diego, CA 92101
1
      Telephone (619) 238-2426
2     martin@martinbuchanan.com

3
      Judicial Council of California
      coordination@jud.ca.gov
4

5         Executed on June 6, 2019 at San Diego, California.

6
                                                        /s/ Heather Skanchy
7                                                       Heather Skanchy
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




     CERTIFICATE OF SERVICE                                                           12
     Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 14
                                            of 20
                                   ATTACHMENT “A”
                       Service list of ECF participants


•   Monique D. Almy malmy@crowell.com
•   Dana M. Andreoli dandreoli@steyerlaw.com, pspencer@steyerlaw.com
•   Anne Andrews aa@andrewsthornton.com, aandrews@andrewsthornton.com
•   Richard L. Antognini rlalawyer@yahoo.com, hallonaegis@gmail.com
•   Lauren T. Attard lattard@bakerlaw.com, abalian@bakerlaw.com
•   Herb Baer hbaer@primeclerk.com, ecf@primeclerk.com
•   Todd M. Bailey Todd.Bailey@ftb.ca.gov
•   Kathryn E. Barrett keb@svlg.com, amt@svlg.com
•   Ronald S. Beacher rbeacher@pryorcashman.com
•   Hagop T. Bedoyan hbedoyan@kleinlaw.com, ecf@kleinlaw.com
•   James C. Behrens jbehrens@milbank.com, mkoch@milbank.com
•   Peter J. Benvenutti pbenvenutti@kellerbenvenutti.com
•   Robert Berens rberens@smtdlaw.com, sr@smtdlaw.com
•   Heinz Binder heinz@bindermalter.com
•   Stephan M. Brown eric@thebklawoffice.com, Ellen@thebklawoffice.com
•   W. Steven Bryant molly.batiste-debose@lockelord.com
•   Peter C. Califano pcalifano@cwclaw.com
•   Christina Lin Chen christina.chen@morganlewis.com,
    christina.lin.chen@gmail.com
•   Shawn M. Christianson schristianson@buchalter.com
•   Robert N.H. Christmas rchristmas@nixonpeabody.com,
    nyc.managing.clerk@nixonpeabody.com
•   Alicia Clough aclough@loeb.com
•   Marc Cohen mscohen@loeb.com
•   Ashley Vinson Crawford avcrawford@akingump.com,
    tsouthwell@akingump.com
•   Keith J. Cunningham rkelley@pierceatwood.com
•   Keith J. Cunningham kcunningham@pierceatwood.com,
    rkelley@pierceatwood.com
•   James D. Curran jcurran@wolkincurran.com, dstorms@wolkincurran.com
•   Jonathan S. Dabbieri dabbieri@sullivanhill.com,
    bkstaff@sullivanhill.com
•   Jonathan R. Doolittle jdoolittle@reedsmith.com,
    bgonshorowski@reedsmith.com
•   Jennifer V. Doran jdoran@hinckleyallen.com
•   Cecily A. Dumas cdumas@bakerlaw.com
•   Dennis F. Dunne mkoch@milbank.com, jbrewster@milbank.com
•   David V. Duperrault dvd@svlg.com, edn@svlg.com
•   Kevin M. Eckhardt keckhardt@hunton.com, candonian@huntonak.com
•   Joseph A. Eisenberg JAE1900@yahoo.com
•   Sally J. Elldngton sally@elkshep.com, ecf@elkshep.com
•   G. Larry Engel larry@engeladvice.com


                                        1
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 15
                                       of 20
•   Krista M. Enns kenns@beneschlaw.com
•   Michael P. Esser michael.esser@kirkland.com, michael-esser-
    3293@ecf.pacerpro.com.
•   Richard W. Esterkin richard.esterkin@morganlewis.com
•   Joseph Kyle Feist jfeistesq@gmail.com, info@norcallawgroup.net
•   James J. Ficenec james.ficenec@ndlf.com, caroline.pfahl@ndlf.com
•   John D. Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
•   Kimberly S. Fineman kfineman@nutihart.com, nwhite@nutihart.com
•   Stephen D. Finestone sfinestone@fhlawllp.com
•   Jonathan Forstot jonathan.forstot@troutman.com,
    john.murphy@troutman.com
•   Jonathan Forstot john.murphy@troutman.com
•   Carolyn Frederick cfrederick@prklaw.com
•   Roger F. Friedman rfriedman@rutan.com, csolorzano@rutan.com
•   Xiyi Fu jackie.fu@lockelord.com, taylor.warren@lockelord.com
•   Larry W. Gabriel lgabriel@bg.law nfields@bg.law
•   Gregg M. Galardi gregg.galardi@ropesgray.com
•   Richard L. Gallagher richard.gallagher@ropesgray.com
•   Janet D. Gertz jgertz@btlaw.com, amattingly@btlaw.com
•   Barry S. Glaser bglaser@swesq.com
•   Gabriel I. Glazer gglazer@pszjlaw.com
•   Gabrielle Glemann gabrielle.glemann@stoel.com, rene.alvin@stoel.com
•   Eric D. Goldberg eric.goldberg@dlapiper.com, eric-goldberg-
    1103@ecf.pacerpro.com
•   Richard H. Golubow rgolubow@wcghlaw.com, jmartinez@WCGHLaw.com
•   Mark A. Gorton mgorton@boutinjones.com, cdorningo@boutininc.com
•   Mark A. Gorton mgorton@boutininc.com, cdomingo@boutininc.com
•   Michael I. Gottfried mgottfried@lgbfirm.com, msutton@lgbfirm.com
•   Debra I. Grassgreen dgrassgreen@pszjlaw.com, hphan@pszjlaw.com
•   Daniel J. Griffin eric@thebklawoffice.com,
    christina@thebklawoffice.com
•   Stuart G. Gross     sgross@grosskleinlaw.com,
    iatkinsonyoung@grosskleinlaw.com
•   Elizabeth M. Guffy eguffy@lockelord.com, autodocket@lockelord.com
•   Oren Buchanan Haker      oren.haker@stoel.com, rene.alvin@stoel.com
•   Kristopher M. Hansen     dmohamed@stroock.com, mmagzamen@stroock.com
•   Robert G. Harris    rob@bindermalter.com
•   Christopher H. Hart      chart@nutihart.com, nwhite@nutihart.com
•   Bryan L. Hawkins    bryan.hawkins@stoel.com, Sharon.witkin@stoel.com
•   Christopher V. Hawkins   hawkins@sullivanhill.com,
    Hawkins@ecf.inforuptcy.com
•   Jan M. Hayden       jhayden@bakerdonelson.com,
    gmitchell@bakerdonelson.com
•   Jennifer C. Hayes jhayes@fhlawllp.com
•   Alaina R. Heine      alaina.heine@dechert.com,
    brett.stone@dechert.com


                                        2
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 16
                                       of 20
•   Stephen E. Hessler, P.C.      jozette.chong@kirkland.com
•   Sean T. Higgins aandrews@andrewsthornton.com,
    shiggins@andrewsthornton.com
•   James P. Hill hill@sullivanhill.com, bkstaff@sullivanhill.com
•   Michael R. Hogue hoguem@gtlaw.com, frazierl@gtlaw.com
•   David Holtzman david.holtzman@hklaw.com
•   Marsha Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
•   Shane Huang shane.huang@usdoj.gov
•   Brian D. Huben hubenb@ballardspahr.com
•   Jonathan Hughes jonathan.hughes@aporter.com,
    jane.rustice@aporter.com
•   Michael A. Isaacs Michael.Isaacs@dentons.com,
    Alissa.Worthing@dentons.com
•   Mark V. Isola mvi@sbj-law.com
•   J. Eric Ivester Eric.Ivester@skadden.com, Andrea.Bates@skadden.com
•   J. Eric Ivester    Andrea.Bates@skadden.com
•   Ivan C. Jen ivan@icjenlaw.com
•   Chris Johnstone chris.johnstone@wilmerhale.com,
    whdocketing@wilmerhale.com
•   Gregory K. Jones Glones@dykema.com, cacossano@dykema.com
•   Robert A. Julian rjulian@bakerlaw.com
•   Roberto J. Kampfner rkampfner@whitecase.com, mco@whitecase.com
•   Robert B. Kaplan rbk@jmbm.com
•   Eve H. Karasik ehk@lnbyb.com
•   Tobias S. Keller tkeller@kellerbenvenutti.com,
    pbenvenutti@kellerbenvenutti.com
•   Lynette C. Kelly lynette.c.kelly@usdoj.gov,
    ustpregion17.oa.ecf@usdoj.gov
•   Gerald P. Kennedy gerald.kennedy@procopio.com, laj@procopio.com
•   Samuel A. Khalil skhalil@milbank.com, jbrewster@milbank.com
•   Samuel M. Kidder skidder@ktbslaw.com
•   Marc Kieselstein carrie.oppenheim@kirkland.com
•   Jane Kim jkim@kellerbenvenutti.com
•   Thomas F. Koegel tkoegel@crowell.com
•   Andy S. Kong kong.andy@arentfox.com, Yvonne.Li@arentfox.com
•   Alan W. Kornberg   akornberg@paulweiss.com
•   Jeffrey C. Krause jkrause@gibsondunn.com, psantos@gibsondunn.com
•   Lindsey E. Kress lkress@lockelord.com, autodocket@lockelord.com
•   Michael Thomas Krueger michael.krueger@ndlf.com,
    Havilyn.lee@ndlf.com
•   Timothy S. Laffredi timothy.s.laffredi@usdoj.gov,
    patti.vargas@usdoj.gov
•   Richard A. Lapping rich@trodellalapping.com
•   Matthew A. Lesnick matt@lesnickprince.com, jmack@lesnickprince.com
•   Bryn G. Letsch bletsch@braytonlaw.com
•   David B. Levant david.levant@stoel.com, rene.alvin@stoel.com


                                        3
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 17
                                       of 20
•   Andrew H. Levin alevin@wcghlaw.com, vcorbin@wcghlaw.com
•   William S. Lisa , jcaruso@nixonpeabody.com
•   William S. Lisa wlisa@nixonpeabody.com, jcaruso@nixonpeabody.com
•   Jonathan A. Loeb jon.loeb@bingham.com
•   John William Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
•   Jane Luciano jane-luciano@comcast.net
•   Kerri Lyman klyman@irell.com, lgauthier@irell.com
•   John H. MacConaghy macclaw@macbarlaw.com, smansour@macbarlaw.com;
    kmuller@macbarlaw.com
•   lain A. Macdonald iain@macfern.com, ecf@macfern.com
•   Samuel R. Maizel samuel.maizel@dentons.com,
    alicia.aguilar@dentons.com
•   Adam Malatesta adam.malatesta@1w.com, adam--malatesta-
    8393@ecf.pacerpro.com
•   Michael W. Malter michael@bindermalter.com
•   Geoffrey E. Marr gemarr59@hotmail.com
•   David P. Matthews jrhoades@thematthewslawfirm.com,
    aharrison@thematthewslawfirm.com
•   Patrick C. Maxcy patrick.maxcy@snrdenton.com
•   Hugh M. McDonald hugh.mcdonald@troutman.com,
    john.murphy@troutman.com
•   Hugh M. McDonald , john.murphy@troutman.com
•   C. Luckey McDowell luckey.mcdowell@bakerbotts.com
•   Frank A. Merola lacalendar@stroock.com, mmagzamen@stroock.com
•   Matthew D. Metzger belvederelegalecf@gmail.com
•   M. David Minnick dminnick@pillsburylaw.com, docket@pillsburylaw.com
•   Thomas C. Mitchell tcmitchell@orrick.com,
    Dcmanagingattorneysoffice@ecf.courtdrive.com
•   John A. Moe john.moe@dentons.com, glenda.spratt@dentons.com
•   Kevin Montee kmontee@monteeassociates.com
•   David W. Moon lacalendar@stroock.com, mmagzamen@stroock.com
•   Courtney L. Morgan morgan.courtney@pbgc.gov
•   Joshua D. Morse Joshua.Morse@dlapiper.com, joshua-morse-
    0092@ecf.pacerpro.com
•   Thomas G. Mouzes tmouzes@boutinjones.com, cdomingo@boutininc.com
•   Peter S. Munoz pmunoz@reedsmith.com, gsandoval@reedsmith.com
•   Michael S. Myers myersms@ballardspahr.com, hartt@ballardspahr.com
•   Alan I. Nahmias anahmias@rnbnlawyers.com
•   David L. Neale dln@lnbrb.com
•   David L. Neale dln@lnbyb.com
•   David Neier dneier@winston.com
•   Melissa T. Ngo ngo.melissa@pbgc.gov, efile@pbgc.gov
•   Gregory C. Nuti gnuti@nutihart.com, nwhite@nutihart.com
•   Abigail O‘Brient aobrient@mintz.com, docketing@mintz.com
•   Office of the U.S. Trustee/SF USTPRegion17.SF.ECF@usdoj.gov
•   Aram Ordubegian Ordubegian.Aram@ArentFox.com


                                        4
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 18
                                       of 20
•   Shai Oved ssoesq@aol.com, Ovedlaw@hotmail.com
•   Gabriel Ozel Gabriel.Ozel@troutman.com, tsinger@houser-law.com
•   Margarita Padilla Margarita.Padilla@doj.ca.gov
•   Amy S. Park amy.park@skadden.com, alissa.turnipseed@skadden.com
•   Donna Taylor Parkinson donna@parkinsonphinney.com
•   Peter S. Partee , candonian@huntonak.com
•   Paul J. Pascuzzi ppascuzzi@ffwplaw.com, JNiemann@ffwplaw.com
•   Kenneth Pasquale , mlaskowski@stroock.com
•   Valerie Bantner Peo vbantnerpeo@buchalter.com
•   Danielle A. Pham   Danielle.pham@usdoj.com
•   Thomas R. Phinney tom@parkinsonphinney.corn
•   R. Alexander Pilmer alexander.pilmer@kirkland.com,
    keith.catuara@kirkland.com
•   M. Ryan Pinkston rpinkston@seyfarth.com, jmcdermott@seyfarth.com
•   Estela O. Pino epino@epinolaw.com, staff@epinolaw.com
•   Mark D. Plevin mplevin@crowell.com
•   Mark D. Poniatowski ponlaw@ponlaw.com
•   Christopher E. Prince cprince@lesnickprince.com
•   Douglas B. Provencher dbp@provlaw.com
•   Amy C. Quartarolo amy.quartarolo@lw.com
•   Lary Alan Rappaport lrappaport@proskauer.com, PHays@proskauer.com
•   Justin E. Rawlins jrawlins@winston.com, justin-rawlins-
    0284@ecf.pacerpro.com
•   Hugh M. Ray hugh.ray@pillsburylaw.com, nancy.jones@pillsburylaw.com
•   Caroline A. Reckler caroline.reckler@lw.com
•   Jack A. Reitman jareitman@lgbfirm.com, srichmond@lgbfirrn.com
•   Emily P. Rich erich@unioncounsel.net,
    bankruptcycourtnotices@unioncounsel.net
•   Christopher O. Rivas crivas@reedsmith.com, chris-rivas-
    8658@ecf.pacerpro.com
•   Daniel Robertson robertson.daniel@pbgc.gov, efile@pbgc.gov
•   Lacey E. Rochester lrochester@bakerdonelson.com,
    gmitchell@bakerdonelson.com
•   Gregory A. Rougeau grougeau@brlawsf.com
•   Eric E. Sagerman esagerman@bakerlaw.com
•   Nanette D. Sanders nanette@ringstadlaw.com becky@ringstadlaw.corn
•   Sunny S. Sarkis sunny.sarkis@stoel.com, dawn.forgeur@stoel.com
•   Sblend A. Sblendorio sas@hogefenton.com
•   Lisa Schweitzer lschweitzer@cgsh.com
•   David B. Shemano dshemano@pwkllp.com
•   James A. Shepherd jim@elkshep.com, ecf@elkshep.com
•   Andrew I. Silfen andrew.silfen@arentfox.com
•   Wayne A. Silver w_silver@sbcglobal.net, ws@waynesilverlaw.com
•   Craig S. Simon csimon@bergerkahn.com, aketcher@bergerkahn.com




                                        5
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 19
                                       of 20
•   Dania Slim dania.slim@pillsburylaw.com,
    melinda.hernandez@pillsburylaw.com
•   Aaron C. Smith asmith@lockelord.com, autodocket@lockelord.com
•   Alan D. Smith adsmith@perkinscoie.com, al-smith-
    9439@ecf.pacerpro.com
•   Jan D. Sokol jdsokol@lawssl.com, dwright@lawssl.com
•   Bennett L. Spiegel blspiegel@jonesday.com
•   Michael St. James ecf@stjames-law.com
•   David M. Stern dstern@ktbslaw.com
•   Rebecca Suarez rsuarez@crowell.com
•   Brad T. Summers summerst@lanepowell.com, docketing-
    pdx@lanepowell.com
•   Elizabeth Lee Thompson ethompson@stites.com, docketclerk@stites.com
•   John C. Thornton jct@andrewsthornton.com,
    aandrews@andrewsthornton.com
•   Meagan S. Tom Meagan.tom@lockelord.com, autodocket@lockelord.com
•   Edward Tredinnick etredinnick@grms1aw.com
•   Matthew Jordan Troy matthew.troy@usdoj.gov
•   Andrew Van Ornum avanoornum@vlmglaw.com, hchea@vlmglaw.com
•   Shmuel Vasser shmuel.vasser@dechert.com, brett.stone@dechert.com
•   Victor A. Vilaplana vavilaplana@foley.com, rhurst@foley.com
•   Marta Villacorta marta.villacorta@usdoj.gov
•   John A. Vos InvalidEMailECfonly@gmail.com,
    PrivateECfNotice@gmail.com
•   Riley C. Walter ecf@W2LG.com
•   Philip S. Warden philip.warden@pillsburylaw.com,
    candy.kleiner@pillsburylaw.com
•   Genevieve G. Weiner gweiner@gibsondunn.com
•   Joseph M. Welch jwelch@buchalter.com, dcyrankowski@buchalter.com
•   Eric R. Wilson kdwbankruptcydepartment@kelleydrye.com,
    ewilson@kelleydrye.com
•   Kimberly S. Winick kwinick@clarktrev.com, knielsen@clarktrev.com
•   Rebecca J. Winthrop rebecca.winthrop@nortonrosefulbright.com,
    Evette.rodriguez@nortonrosefulbright.com
•   David Wirt david.wirt@hklaw.com, denise.harmon@hklaw.com
•   Ryan A. Witthans rwitthans@fhlawllp.com, rwitthans@fhlawllp.cpm
•   Risa Lynn Wolf-Smith rwolf@hollandhart.com ,
    lmlopezvelasquez@hollandhart.com
•   Andrea Wong wong.andrea@pbgc.gov, efile@pbgc.gov
•   Christopher Kwan Shek Wong christopher.wong@arentfox.com
•   Kirsten A. Worley kw@wlawcorp.com , admin@wlawcorp.com
•   Andrew Yaphe andrew.yaphe@davispolk.com,
    lit.paralegals.mp@davispolk.com
•   Brittany Zummer bzummer@theadlerfirm.com,
    nfournier@theadlerfirm.com
•   Dario de Ghetaldi deg@coreylaw.com, If@coreylaw.com



                                        6
Case: 19-30088   Doc# 2425   Filed: 06/06/19   Entered: 06/06/19 10:06:17   Page 20
                                       of 20
